Case 2:24-cv-04702-MCS-PD Document 48-30 Filed 06/24/24 Page 1 of 4 Page ID #:406




                            Exhibit 22
                  Declaration of Eden Shemuelian
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5/21/24, 8Case
           39 PM 2:24-cv-04702-MCS-PD               Document
                                                    LawNET       48-30 Filed
                                                           Mail BruinALERT        06/24/24
                                                                           Campus Activity         Page
                                                                                           Updates (May     36of
                                                                                                        1st at    4 Page ID #:408
                                                                                                               30PM)
            1224 Law Building
            385 Charles E. Young Drive East
            Los Angeles, CA 90095

            P:




            From: Shemuelian, Eden <                                 >
            Sent: Wednesday, M                M
            To: Martí, Bayrex <               >
            Subject: Fwd: BruinALERT: Campus Activity Updates (May 1st at 6:30PM)


            I don’t feel safe coming to campus tomorrow to take my final exam (Law 244) in person. I am requesting an
            emergency accommodation to take it from home tomorrow instead. I do not expect this to not be a problem in light of
            everything that is going on. Looking forward to hearing back from you immediately. Thank you.


            Eden Shemuelian
                                              | LinkedIn |

            Juris Doctor Candidate | UCLA School of Law




            ---------- Forwarded message ---------
            From: UCLA BruinALERT <                       >
            Date: Wed, May 1, 2024 at 6:41 PM
            Subject: BruinALERT: Campus Activity Updates (May 1st at 6:30PM)
            To:                                    <                                           >



            BruinALERT: Campus operations will be limited tomorrow and Friday. Please continue to avoid campus and the
            Royce Quad area.
            Per Academic Senate guidance on instruction, all in-person classes are authorized and required to pivot to remote
            tomorrow and Friday.
            Geffen Academy, Lab School and Early Care and Education are closed tomorrow and plans for Friday will be
            communicated.
            Employees are encouraged to work remotely wherever possible and should consult with their supervisors. Events
            and research activities are encouraged to go remote or be rescheduled wherever possible.
            The hospital and health system, other clinical operations, and housing and hospitality facilities remain open. UCLA
            Extension classes will continue as scheduled, except for classes scheduled to be held on the UCLA campus, which
            will either be moved to other locations or online.
            We have a large law enforcement presence stationed throughout campus to help promote safety. Student Affairs will
            have essential staff on campus to support our students.
            For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.


       --
       Eden Shemuelian
                                       | LinkedIn |
       Juris Doctor Candidate | UCLA School of Law
                                        SHEMUELIAN DECLARATION EXHIBIT 22
                                                       79
https://mail.google.com/mail/u/2/?ik=d5b6352020&view=pt&search=all&permmsgid=msg-a:r2416317555651852702&dsqt=1&simpl=msg-a:r2416317555651852702   2/3
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                                                                                           Updates (May     46of
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                                        SHEMUELIAN DECLARATION EXHIBIT 22
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